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       6 Attorneys for Plaintiff MARC I. WILLICK
       7
       8
       9                      UNITED STATES DISTRICT COURT
      10       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      11
      12 MARC I. WILLICK, an individual,           CASE NO. 2:15-cv-00652-AB-CE
~     13           Plaintiff;                      [Assigned for to Hon. Andre Birotte Jr.;
                                                   and Magistrate Judge Charles F. Eickj
~     14       v.
     15 NAPOLIBERNRIPKA&
        ASSOCIATES, LLP, a vurported               PROOF OF SERVICE
     16 limited liability partnersnip; NAPOLI
        BERN RIPKA SHKOLNIEK&
     17 ASSOCIATES, LLP, a purported
        limited liability partnershipx NAPOLI
     18 BERN RIPKA SHKOLN]X, LLP, a
        purported limited liability partnership;
     19 NAPOLI BERN RIPKA, tiP, a
        purported limited liability partnership;
     20 NAPOLI KAISER BERN, LLP, a                 Action filed:   12/12/14 (Los Angeles
        purported limited liability partnersh~p;     .               County Superior Court
     21 MARC J. BERN, an rndividuaP PAUL           Trial Date:     None set
        J. NAPOLI an individuaF NA~OLI
     22 BERN, LLE a limited lia~nhty
        partnershq; WAPOLI, KAISER, BERN
     23 & AS.SOUIATES2 LLP a limited
        liability_partnership; NAPOLI, BERN
     24 & ASSOCIATES2 LLP, a limited
        liability partnership; LAW OFFICES
     25 QF NAPOLI BERN, LLP a limited
        liability partnershipS LAW OFFICES
     26 OF NAPOLI BERN RIPKA &
        ASSOCIATES LLP, a limited liability
     27 partnershiw LAW OFFICES OF
        NAPOLI B~RN RIPKA SHKOLNIK
     28 LLP. a limited liability nartnershin:

                                                                     Case No. 2:i5-cv-00652-AB-CE
                                          PROOF OF SERVICE
        Case 2:15-cv-00652-AB-E Document 165 Filed 11/26/18 Page 2 of 5 Page ID #:1943




           1 LAW OFFICES OF NAPOLI BERN
             RIPKA SHKOLNIK & ASSOCIATES
           2 LLP, a limited liability partnership
             PASTERNACK TILKER NAPOL1
           3 BERN, LLP a limited liability
             partnership; WAPOLI SHKOLNIK
           4 PLLC, a professional limited liability
             con~pany; NAPOLI LAW PLLC, a
           5 protessional limited liability company;
             PAUL NAPOLI LAW PLLC, a
           6 professional limited liability company;
             BERN RIPKA LLP, a limited liability
           7 partnership; MARC J. BERN &
             PARTNERS LLP, a limited liability
           8 partnership; NAPOLI & BERN LLP a
             limited liability partnership; MARC I.
           9 BERN PLLC, a professional limited
             liability company; NAPOLI, KAISER
          10 & ASSOCIATES~ LLP, a limited
             liability partnership NAPOLI, BERN,
          11 KRENTSEL & GtJ~MAN, LLP, a
             limited liability partnership; WORBY,
          12 GRONER, EDELMAN & NAPOLI,
             BERN, LLP, a limited liability
    ~     13 partnership; PAUL NAPOLI PLLC, a
             professional limited liability company,
~         14 and DOES 1 through 50,
          15              Defendants.
~         16
-~




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                                                       2              Case No. 2:15-cv-00652-AB-CE
                                              PROOF OF SERVICE
         Case 2:15-cv-00652-AB-E Document 165 Filed 11/26/18 Page 3 of 5 Page ID #:1944



        Attorney or Party without Attorney:
                                                                                                                    For Court Use Only
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        l999Avenue of the Stars, Suite 1000
        Los Angeles, California 90067
          relephone No: 310-5524400
           Attorney For Plaintiff                                    ef Na or File Na.

        Insert name of Court. andJudicial District and Branch Court:
        United States District Court for the Central District of California
          Plaintiff MARC I. WILLICI( an individual
        Defendant: NAPOLI BERN RIPKA & ASSOCIATES, LLP, a purported limited liability
                    partnership, etal
                PROOF OF SERVICE                  Hearing Date:                          Dept/Oh’:       Case Number:
                                                                                                         2:1 5-cv-00652-AB-E

    1     At the time of service I was at least 18 years of age and not a party to this action.

2.        I served copies of the Summons in a Civil Action on the First Amended Complaint, FirstAmended Complaint

3.        a.    Party served:     NAPOLI, KAISER & ASSOCIATES, LLP
          1,.   Person served:    Paul Napoli, Agent for Service of Process
                                  Served under F.R.C.P. Rule 4.

4.        Address where the party was served:      114 Old Country Rd. Suite 616, Mineloa, NY 11501

5.        I served the party:
          a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
          process for the party (1) on: Wed, Nov21 2018(2) at: 11:05AM




6.        Person Who Served Papers:
          a. Matthew Donovan                                                       a. The Fee for Service was:
          b. FIRST LEGAL
              1517W. Beverly Blvd.
             LOS ANGELES, CA 90026
          c. (213) 250-1111



7        I declare under penally of perjuiy under the laws of the United States of America that the foregoing is true and correct


                                 STy,
                      Note,7                    U.
                                                   w

                                                OUnjy
                                                  ~ 2019                             11/2k2018
                                                                                         (Date)                         (Signature)



                                                                      PR 00 F OF                                                          2834707
                                                                      SERVICE                                                            (3799976)
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                            CERTIFICATE OF SERVICE

          I hereby certify that on this 26th day of November, 2018, I electronically

    filed the foregoing Proof of Service with the Clerk of the Court using the

    CM/ECF system which will send notification of such filing to the following:

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    Kimberly Cederquist                        ASSOCIA TES, LLP;
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                                           Alexandria Alamango
